        Case 4:21-cv-03119-JST Document 24 Filed 06/23/21 Page 1 of 3




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     Attorney(s) for Plaintiff Scanning Technology Innovations, LLC
 6

 7

 8                    IN THE UNITED STATES DISTRICT COURT

 9                FOR THE NORTHERN DISTRICT OF CALIFORNIA
10

11
     SCANNING TECHNOLOGIES
12   INNOVATIONS, LLC,                           CASE NO. 4:21-cv-03119-JST
13                Plaintiff,
                                                 JOINT STIPULATION AND
14          v.
                                                 ORDER OF DISMISSAL WITH
15
     FINALE, INC.,                               PREJUDICE
16
                  Defendant.
17

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19
           Plaintiff Scanning Technologies Innovations, LLC and Defendant Finale, Inc.,
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     by their respective undersigned counsel, hereby STIPULATE and AGREE as follows:
21
           1.    All claims asserted by the Plaintiff in this Action are dismissed with
22
                 prejudice under Fed. R. Civ. P. 41(a)(1)(A)(ii);
23
           2.    All counter-claims asserted by the Defendant in this action are dismissed
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                 without prejudice under Fed. R. Civ. P. 41(a)(1)(A)(ii) and 41(a)(1)(B);
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           2.    Each party shall bear its own costs and attorneys’ fees with respect to the
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     matters dismissed hereby;
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                    JOINT STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE
        Case 4:21-cv-03119-JST Document 24 Filed 06/23/21 Page 2 of 3




 1         This Stipulation and Order shall finally resolve the Action between the parties.
 2

 3   Dated: June 23, 2021                         Respectfully submitted,
 4
                                                  /s/Stephen M. Lobbin
 5                                                Stephen M. Lobbin
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10                                                Attorney(s) for Plaintiff Scanning
                                                  Technology Innovations, LLC
11

12                                                FISH & RICHARDSON P.C.

13                                                By: /s/Noel F. Chakkalakal
14                                                Rodeen Talebi (CA SBN 320392)
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27
                                                  COUNSEL FOR DEFENDANT
28                                                FINALE, INC.
                                               2
                    JOINT STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE
        Case 4:21-cv-03119-JST Document 24 Filed 06/23/21 Page 3 of 3




 1
                              CERTIFICATE OF SERVICE
 2

 3          I hereby certify that on June 23, 2021, I electronically filed the above
 4
     document(s) with the Clerk of Court using CM/ECF which will send electronic
     notification of such filing(s) to all registered counsel.
 5

 6                                              /s/Stephen M. Lobbin
                                                Stephen M. Lobbin
 7

 8

 9
     SO ORDERED this _____ day of _______________, 2021.
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                                   _______________________________________
                                   UNITED STATES DISTRICT JUDGE
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                   JOINT STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE
